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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                              Case No.: 9:08-CV-81443-HURLEY/HOPKINS



  SCS ALEXANDRE ET CIE d/b/a PRETTY                          )
  YOU MONACO, a foreign corporation,                         )
                                                             )
                    Plaintiff,                               )
                                                             )
  v.                                                         )
                                                             )
  LANA MARKS LTD, INC.,                                      )
  a Florida corporation,                                     )
                                                             )
                    Defendant.
                                                             )

       PLAINTIFF’S OPPOSITION TO DEFENDANT’S RESPONSE TO THE COURT’S
       ORDER TO SHOW CAUSE AND MOTION TO VACATE ENTRY OF DEFAULT

           Plaintiff Pretty You Monaco (“Pretty You”) by and through its attorney of record, hereby

  files its Opposition to Defendant’s Response to the Court’s Order to Show Cause and Motion to

  Vacate Entry of Default (“Response and Motion”), and states as follows:

           Plaintiff opposes Defendant’s Response and Motion on the simple ground that Defendant

  has failed to adequately show the existence of excusable neglect for its failure to timely respond

  to the Complaint or move to vacate the default judgment.1 Defendant’s argument boils down to

  its assertion that it didn’t know that it had to reply at all and because it was involved in

  settlement discussions over the dispute. Such an argument is unavailing and simply unbelievable

  for a number of reasons.

           First, the summons served with the Complaint clearly provides Defendant’s obligation to

  answer the Complaint or risk judgment by default. See Summons In A Civil Case, attached

  hereto as Exhibit “A”. A legal obligation could not be more clear.
  1
    Further, while Plaintiff may not have been prejudiced by the failure to respond in terms of items like discovery, it
  has been required to expend significant sums pursuing the default process and would ask the Court, at a minimum,
  to sanction Defendant by requiring it to reimburse Plaintiff for its reasonable attorneys fees in pursuing the default
  process.
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         Second, Plaintiff’s counsel explicitly stated on a number of occasions that it was actively

  pursuing the litigation while settlement discussions were ongoing, even going so far as to inform

  Lana Marks that Plaintiff would seek a default judgment. See Declaration of Phillip E. Dubé

  (“Dube Decl.”) at ¶ 6, attached hereto as Exhibit “B”; Email from P. Dube to

  lanamarks@hotmail.com, dated February 18, 2009, attached hereto as Exhibit “C” (redacting

  substance of settlement discussions); Email from P. Quinter to lanamarks@hotmail.com, dated

  February 14, 2009, attached hereto as Exhibit “D” (redacting substance of settlement

  discussions);    Email from P. Quinter to lanamarks@hotmail.com, dated March 12, 2009,

  attached hereto as Exhibit “E” (redacting substance of settlement discussions). Any argument

  that Lana Marks thought the litigation was paused while settlement discussions occurred is

  utterly unpersuasive when viewed in light of all circumstances.

         Third, Lana Marks was kept constantly apprised of the ongoing nature of the litigation.

  Even though Lana Marks did not file an Answer or other response to the Complaint, Plaintiff’s

  counsel timely mailed every filing to Lana Marks. See Dubé Decl. at ¶ 5.

         Fourth, Lana Marks is not a novice to the requirements of a federal lawsuit. At least

  twice in the past two years the corporation has been a defendant in a civil case filed in this

  district. See Docket Report for Wilder v. Lana Marks Ltd, Inc et al., Case No. 9:08-cv-80309-

  DMM, attached hereto as Exhibit “F”; Docket Report for Sullivan v. Lana Marks Ltd, Inc et al.,

  Case No. 09:07-cv-80138-DMM, attached hereto as Exhibit “G”. In one of those suits, Sullivan,

  Lana Marks had a motion for default filed against it. In that same suit, Judge Middlebrooks

  made explicitly clear the need for Lana Marks, as a corporation, to be represented by counsel in

  litigation. See Order dated August 2, 2007, attached hereto as exhibit “H”.

         Finally, Lana Marks has provided no evidence of a process, safeguard, or mechanism

  designed to ensure the prompt attention to and handling of lawsuits. The Response and Motion,

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  in fact, portrays a haphazard means of addressing complaints that can lead to nothing other than

  their disregard unless and until confronted by the entry of a default judgment, when it finally gets

  someone’s “attention.”

         “The determination of what constitutes excusable neglect is generally an equitable one,

  taking into account the totality of the circumstances surrounding the party’s omission.” Sloss

  Indust. Corp. v. Eurisol, 488 F.3d 922, 935 (11th Cir. 2007) (finding no “excusable neglect”

  when defendant did not file pleading until three and a half months after being served with

  process). The circumstances laid out above clearly show neglect on Defendant’s part, but not

  excusable neglect.    The utter lack of persuasiveness of Defendant’s “I just didn’t know”

  argument in light of the facts undercuts any finding of excusable neglect. This factually weak

  argument, coupled with the fact that Defendant maintained no internal procedural safeguards, or

  even consulted an attorney until the order to show cause arrived, makes appropriate the entry of a

  default judgment in favor of Plaintiff. See Sloss, 488 F.3d at 935-36; Gibbs v. Air Canada, 810

  F.2d 1529, 1538 (11th Cir. 1987).



         Plaintiff hereby opposes the Response and Motion, and renews its Motion for the Entry

  of a Default Judgment against the Defendant LANA MARKS LTD, INC.




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  Dated: May 22, 2009.                                      Respectfully submitted,

                                                            By:       /s Phillip E. Dubé
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